      Case No. 1:23-cv-01607-CNS-STV Document 5-6 filed 06/23/23 USDC Colorado pg 1 of 2


  AO 440 (Rev. 06/12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                              District
                                                        __________     of Colorado
                                                                   District of __________

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                                                                               )
                                       Plaintiff(s)                            )
                                                                               )
                                              v.
 7KH%2$5'2)&2817<&200,66,21(562)-())(5621&2817<D                           Civil Action No.23-cv-01607-STV
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                                      Defendant(s)                             )

                                                       SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) Nicole Wolf, RN
                                           3340 Perimeter Hill Drive
                                           Nashville, TN 37211




             A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Siddhartha Rathod, Matthew Cron, and Virginia Butler
                                           Rathod Mohamedbhai LLC
                                           2701 Lawrence St., Suite 100
                                           Denver, CO 80205



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                       CLERK OF COURT


                 06/23/2023                                                                   s/ J. Charles
  Date:
                                                                                                  Signature of Clerk or Deputy Clerk
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 Civil Action No.         23-cv-01607-STV

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
